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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA

     Kenneth R. Price,                        )       C/A No.: 1:20-1873-SAL-SVH
                                              )
                         Plaintiff,           )
                                              )
           vs.                                )
                                              )                ORDER
     Brianna N. Burns,                        )
                                              )
                         Defendant.           )
                                              )

        Kenneth R. Price (“Plaintiff”), proceeding pro se and in forma pauperis,

filed an amended complaint alleging Brianna N. Burns (“Defendant”) violated

his constitutional rights. [ECF No. 8]. By order dated June 10, 2020, service of

process of the complaint was authorized. [ECF No. 11]. On September 28, 2020,

the summons for Defendant was returned unexecuted. [ECF No. 17]. In the

“Remarks” section of the Forms USM-285, the United States Marshals Service

(“USMS”) indicated the South Carolina Department of Corrections Office of

General Counsel could not accept service on behalf of Defendant because she

was terminated. Id. The remarks also state that they attempted to serve

Defendant at her last known address, but the postal report indicates it was

unclaimed and that Defendant no longer resides at the address.1 Id.

        Plaintiff was previously warned: “Plaintiff must provide, and is



1   The actual address is redacted for security reasons.
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responsible for, information sufficient to identify defendants on the Forms

USM-285. The United States Marshal cannot serve an inadequately identified

defendant. Unserved defendants may be dismissed as parties to this case if not

served within the time limit governed by Rule 4(m) and this order.” [ECF No.

16 at 2]. Plaintiff is directed to complete by October 13, 2020, a Form USM-285

that provides additional information to allow the USMS to serve Defendant. If

Plaintiff fails to do so, the undersigned will recommend this case be dismissed.

      IT IS SO ORDERED.




September 28, 2020                         Shiva V. Hodges
Columbia, South Carolina                   United States Magistrate Judge




                                       2
